      Case 2:19-cr-00204-SSV-JVM Document 512 Filed 10/06/21 Page 1 of 2




                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF LOUISIANA

    UNITED STATES OF AMERICA                           CRIMINAL ACTION

    VERSUS                                                       NO. 19-204

    REGINALD JONES                                         SECTION “R” (1)



                         ORDER AND REASONS


       Defendant, Reginald Jones, was charged with three counts in a

superseding indictment on November 8, 2019.1 Defendant’s SENTENCING

is set for October 6, 2021. In the midst of the COVID-19 pandemic, Congress

has allowed felony plea hearings under Rule 11 of the Federal Rules of

Criminal Procedure to be conducted by videoconference when the hearing

cannot be conducted in person without seriously jeopardizing health and

safety, and the Court finds for specific reasons that the sentencing cannot be

delayed without serious harm to the interests of justice. See Pub. L. No. 116-

136, § 15002(b)(2), 134 Stat. 281, 528-29 (2020) [hereinafter “CARES Act.”].

       The Chief Judge of the Eastern District of Louisiana has specifically

found that felony plea hearings under Rule 11 cannot be conducted in person

without seriously jeopardizing public health and safety. See Eastern District


1      R. Doc. 40.
    Case 2:19-cr-00204-SSV-JVM Document 512 Filed 10/06/21 Page 2 of 2




of Louisiana, General Order 20-13. The Court finds pursuant to Section

15002(b)(2) of the CARES Act, and in accordance with General Order 20-13

of the Eastern District of Louisiana, that defendant’s sentencing cannot be

further delayed without serious harm to the interests of justice. This is

specifically because of the backlog of cases caused by the COVID-19

pandemic.

     Defendant’s sentencing hearing is therefore set for OCTOBER 6,

2021, at 10:00 a.m. The sentencing hearing shall be conducted by

videoconference.


        New Orleans, Louisiana, this _____
                                      6th day of October, 2021.


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                          SARAH S. VANCE
                   UNITED STATES DISTRICT JUDGE




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